    Case 19-50012         Doc 216       Filed 09/05/19    EOD 09/05/19 17:19:48      Pg 1 of 4



                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


                                                  )
 In re:                                           )      Chapter 11
                                                  )
 USA GYMNASTICS,                                  )      Case No. 18-09108-RLM-11
                                                  )
                             Debtor.              )
                                                  )
 USA GYMNASTICS,                                  )
                                                  )
                          Plaintiff,              )
                  v.                              )      Adv. Case No. 19-50012
                                                  )
 ACE AMERICAN INSURANCE                           )
 COMPANY f/k/a CIGNA INSURANCE                    )
 COMPANY, GREAT AMERICAN                          )
 ASSURANCE COMPANY, LIBERTY                       )
 INSURANCE UNDERWRITERS INC.,                     )
 NATIONAL CASUALTY COMPANY,                       )
 RSUI INDEMNITY COMPANY, TIG                      )
 INSURANCE COMPANY, VIRGINIA                      )
 SURETY COMPANY, INC. f/k/a                       )
 COMBINED SPECIALTY INSURANCE                     )
 COMPANY, WESTERN WORLD                           )
 INSURANCE COMPANY, ENDURANCE                     )
 AMERICAN INSURANCE COMPANY,                      )
 AMERICAN INTERNATIONAL GROUP,                    )
 INC., AMERICAN HOME ASSURANCE                    )
 COMPANY, AND DOE INSURERS,                       )
                                                  )
                          Defendants.             )
                                                  )

    ACE AMERICAN INSURANCE COMPANY’S CROSS-MOTION FOR PARTIAL
            SUMMARY JUDGMENT AGAINST USA GYMNASTICS

          Pursuant to Fed R. Cib. P. 56(a), Fed R. Bankr. P. 7056, S.D. Ind. B-7056-1(a)(b),

adversary defendant, ACE American Insurance Company f/k/a CIGNA Insurance Company

(“Chubb”), cross moves for partial summary judgment against Debtor and Adversary Plaintiff,

USA Gymnastics (“USAG”). Specifically, Chubb requests the following dispositions and


                                                  1
    Case 19-50012       Doc 216      Filed 09/05/19      EOD 09/05/19 17:19:48         Pg 2 of 4



declarations: (1) that USAG’s Motion for Partial Summary Judgment [Dkt. 174] should be

denied in all respects; (2) that Chubb has no duty to indemnify USAG, or any other Chubb

insured, on any judgment or settlement applicable to liability arising from sexual abuse by a

single perpetrator after the maximum total limits of $11,000,000.00 ($1 million under the

applicable primary policy, and $10 million under the corresponding excess policy from the same

year) have been exhausted; and (3) all other proper relief.

               As shown in the accompanying Memorandum of Law in Opposition to USA

Gymnastics’ Motion for Partial Summary Judgment and in Support of its Cross Motion for

Summary Judgment an appendix, both of which are incorporated herein by reference, the

exhibits and other admissible evidence before the court demonstrate that there is no genuine

issue of any material fact and that Chubb is entitled to partial summary judgment as a matter of

law.

               In filing this cross motion for partial summary judgment, Chubb fully reserves

and does not waive its August 20, 2019 Renewed Motion to Withdraw Reference of the

Adversary Proceeding [Dkt. 192]. Also, the only issue raised by Chubb at this time is limited to

USAG’s Motion for Partial Summary Judgment and, as ordered by the Court, Chubb’s response

in opposition to that motion. Chubb reserves its rights to assert any and all coverage defenses

and claims, if and when it files its answer, affirmative defenses, or other pleadings as to its

primary and excess policies issued to USAG.

               Wherefore, Chubb prays that partial summary judgment be granted in its favor

declaring and determining that (1) USAG’s Motion for Partial Summary Judgment against

Chubb is denied in all respects; (2) Chubb’s Motion for Partial Summary Judgment is granted in




                                                  2
    Case 19-50012       Doc 216      Filed 09/05/19     EOD 09/05/19 17:19:48         Pg 3 of 4



all respects; that the maximum of liability applicable to the liability of USAG or other insureds

arising from abuse by a single perpetrator is $11,000,000.00 total; and (3) all other proper relief.

               Respectfully submitted.

       Dated: September 5, 2019               KROGER, GARDIS & REGAS, LLP

                                              By       /s/ Stephen J. Peters
                                                   Stephen J. Peters, Attorney No. 6345-49
                                                   Harley K. Means, Attorney No. 23068-32
                                                   111 Monument Circle, Suite 900
                                                   Indianapolis, IN 46204-5125
                                                   (317) 692-9000
                                                   (317) 264-6832(Fax)
                                                   speters@kgrlaw.com
                                                   hmeans@kgrlaw.com

                                                   Counsel for Defendant ACE American
                                                   Insurance Company f/k/a CIGNA Insurance
                                                   Company


                                              COZEN O’CONNOR

                                              By       /s/ Jonathan Toren
                                                   Jonathan Toren, Admitted Pro Hac Vice
                                                   Eric Freed, Admitted Pro Hac Vice
                                                   999 Third Avenue, Suite 1900
                                                   Seattle, Washington 98104
                                                   (206) 340-1000
                                                   (206) 621-8783 (Fax)
                                                   jtoren@cozen.com
                                                   efreed@cozen.com

                                                   Counsel for Defendant, Defendant, ACE
                                                   American Insurance Company f/k/a CIGNA
                                                   Insurance Company




                                                   3
    Case 19-50012          Doc 216     Filed 09/05/19     EOD 09/05/19 17:19:48       Pg 4 of 4



                                   CERTIFICATE OF SERVICE

                   I hereby certify that on September 5, 2019, a copy of the foregoing ACE

American Insurance Company’s Motion for Partial Summary Judgment Against USA

Gymnastics was filed electronically. Notice of this filing will be sent to the following parties

through the Court’s Electronic Case Filing System. Parties may access this filing through the

Court’s system.

                   Respectfully submitted.

        Dated: September 5, 2019                COZEN O’CONNOR



                                                By       /s/ Jonathan Toren
                                                     Jonathan Toren, Admitted Pro Hac Vice
                                                     Eric Freed, Admitted Pro Hac Vice
                                                     999 Third Avenue, Suite 1900
                                                     Seattle, Washington 98104
                                                     (206) 340-1000
                                                     (206) 621-8783 (Fax)
                                                     jtoren@cozen.com
                                                     efreed@cozen.com

                                                     Counsel for Defendant, Defendant, ACE
                                                     American Insurance Company f/k/a CIGNA
                                                     Insurance Company
LEGAL\42751623\1




                                                     4
